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EXHIBIT A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: : Chapter 11

: Case No.
W.R. GRACE & CO., et al, : 01-01139 JKF

(Jointly
Administered)

Debtors

Friday, May 1, 2009

Oral deposition of PETER VAN
N, LOCKWOOD, ESQUIRE, taken pursuant to
notice, was held at the offices of CAPLIN
& DRYSDALE, One Thomas Circle N.W., Suite
1100, Washington, DC 20005, commencing
at 9:43 a.m., on the above date, before
Lori A. Zabielski, a Registered
Professional Reporter and Notary Public
in and for the Commonwealth of
Pennsylvania.

MAGNA LEGAL SERVICES
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1635 Market Street
8th Floor
Philadelphia, Pennsylvania 19103

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2 (Pages 2 to 5)

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19  CUYLERBURK,P.C. x
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20 © 4 Century Drive 21 3 Form 8-K and Term Sheet 15
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provision, essentially that we are

going to transfer the assets to

the Trust and if you got a claim

or an interest in the assets, then

you can litigate that claim

against the Trust.

But we are going, I guess,

have potential confirmation

objections about whether there are

any such claims. I mean, the mere
assertion of a claim doesn't mean
that it's valid.

BY MR. BROWN:

Q. Okay. IfT can direct your
attention down to 7.2.4, which is
entitled Assignment and Enforcement of
Asbestos PI Trust Causes of Action.

A. Yes.

Q. Tmust confess, I am a bit
baffled by this one, so I need some help
with it.

How do Asbestos PI Trust
causes of action differ from asbestos
insurance rights?

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A. Well, I have to go back and
look at the definitions to answer that
question.

Well, I think asbestos PI
Trust causes of action does include
asbestos insurance rights.

Q. What else does it include?

A. Well, if you look at the
definition, it includes defenses such
that, for example, if a claimant says, ]
have a valid claim against Grace that's
channelled to the Trust and the Trust
disagrees with it, the Trust retains all
the defenses to that claim that Grace
would have had. That's clause A under
definition 47.

Q. Okay.

A. Clause B is, for example,
contribution rights, et cetera. So, for
example, if the Trust has -- if Grace has
contribution rights that it has not
asserted and that which are still valid
against a codefendant in a tort system
and the codefendant brings in indirect

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31 (Pages 118 to 121)

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Asbestos PI Trust claim against the
Trust, the Trust could assert Grace's
contribution rights as a counterclaim to
that. That's two categories of things
that this is intended to include.

Q. Okay. Let's go to page 64,
7.2.6, Creation and Termination of the
Asbestos PI TAC.

A. Correct.

Q. It says, "On or before the
Confirmation Date, the initial members of
the Asbestos PI TAC shall be selected by
the Asbestos PI Committee."

That has already occurred,
correct?

A. Correct. They are
identified in the Asbestos PI Trust
Agreement.

Q. Okay. How many actual
committee members are there on the
Asbestos PI Committee?

A. Idon'tremember. But we
have the Disclosure Statement here. I
could re uickl find outb ust

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looking at it where they are identified.

Q. Okay.

A. It's certainly more than the
four that are going to be on the TAC.

Q. Okay. Is it fair to say
that the actual committee members who are
asbestos claimants act through their tort
counsel in connection with their
obligations as committee members?

A. Asa general proposition,
that's true. In any given committee on
any given issue, an individual member
might choose to show up and act on their
own behalf, and there have been some
examples in the past where that has
occurred.

But, as a general
proposition, the committee members are
blue-collar folks of limited legal
knowledge, and they delegate to their
personal injury lawyers their sort of
activities acting for them as an agent on
these committees.
Oka . You are counsel to
Sowa ma & Nt

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the Asbestos PI Committee. You don't
have occasion, do you, to deal directly
with the actual claimants?

MR. FINCH: Object to the
form.

THE WITNESS: That's not
entirely true. J get calls
periodically that I just got this
incomprehensible Disclosure
Statement from Grace and could you
please tell me what it means or
something. But as a general
proposition --

MR, FINCH: Transfer to it
to Finch.

THE WITNESS: Or where do I
file my proof of claim.

But, as a general
proposition, I don't nor do other
folks at Caplin & Drysdale deal
directly with original committee
members.

BY MR. BROWN:
You deal with ersonal

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injury attorneys, correct?

A. Asa general proposition, we
deal with the PI lawyers who have been
appointed by their client committee
member to act on their behest in the
committee,

Q. Now, the TAC members are
John Cooney, Perry Weitz, Joe Rice,
and -- who was the fourth one?

A. Well, I can tell you by
looking at the PI Trust Agreement, which
is Exhibit-2 to the Plan and looking at
the signature page, we should have, which
is --

Q. Russell Budd.

A. Russell Budd, John Cooney,
Joseph Rice, and Perry Weitz.

Q. And each of them works for a
law firm, correct?

A. Each of them is a partner a
law firm, yes.

Q. Sorry. I didn't mean to...

Now, does each of those law
firms have a client that sits on the

sr

L9

32 (Pages 122 to 125)
Page 124

committee?

A. Yes.

Q. And do those committee
members for those firms act through those
four gentlemen?

A. On the committee?

Q. Yes.

A. Generally, yes.

Q. Okay. So is it fair to say
that Mr. Rice, Mr. Weitz, Mr. Cooney, and
Mr. Budd selected themselves to be
members of the TAC?

A. No, because there are many
other members of the committee, and the
committee as a whole, which, in this
particular case, I believe has a majority
of members that are not these four
gentlemen, decided which of their members
they thought would be appropriate persons
to put on the TAC.

Q. And how was that decided?

A. As far as I know, they had
informal discussions, and they had a
committee meeting. I don't remember

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whether there were votes or anything like
that. But at the end of the day, through
some sort of nomination or informal
self-nomination or self-nomination,
speeches, lobbying, discussions, what
have you, there came a time at which the
committee voted to select these four
people.

Q. Okay.

A. And I might add that the
Future Claimants Representative had a
sort of a generalized oversight in the
sense that while the Plan contemplates
that the committee would nominate the
TAC. Ifthe FCR thought, for some reason
or another, that somebody had been put on
the TAC that was a real bad idea, the
committee would probably have had to
listen to the Future Representative's
views on that even though the Futures Rep
did not have sort of a formal veto or
role in that process.

Q. Okay. IT want to now turn to

4 'e — well, it's 69 on mr version,
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Section 7.7, Conditions to Occurrence of 1
the Confirmation Date, and I want to 2
focus your attention first on (g). 3
A. I see it. 4

Q. What are the securities that 5

are funding the Asbestos PI Trust? 6
A. The warrant and the Deferred 7
Payment Agreement, which is a debt 8
obligation, which also includes, I 9
believe, a promissory note or promissory LO
notes. L1
Q. Can you describe for me the L2
circumstances under which the asbestos PI 13
claim — excuse me -- the Asbestos PI L4
Trust will be funded with dividends? LS
A. In the event that it L6
exercises the warrant and acquires stock L7
pursuant to that exercise and the stock L8
pays dividends, it will get dividends. LQ
Q. And if the warrant is not 20
exercised? 21
A. Then it won't get dividends. 22

Q. What about if there is a B3
default under the deferred payment note? 24

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A, My recollection is that the 1
Trust has the right to get 50.1 percent 2
of the stock of the Debtor under those 3
circumstances. 4
But, again, the terms of -- 5

that's a very complicated set of 6
documents, and the precise terms of that 7
are whatever the document states. I can 8
only give you a sort of a very 9
generalized description. 10
Q. Okay. Let me draw your 11
attention now down to (1), condition (1). 12
A. Yes, I see it. 13

Q. What does that mean? 14
MS. HARDING: Object to 15

form. 16
THE WITNESS: Well, what it 17

means is that if you didn't have a 18
TDP, which includes things like a 13
payment percentage and mechanisms 20

for trying to trying to limit the 21
ways in which the Trust expends 22
monies on claims, and you just had 23
sort of a come in, sue the Trust 24

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33 (Pages 126 to 129)
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and the tort system, et cetera,

you would have a

first-come-first-serve operation

where there was the distinct
possibility that, as it happened

in the Manville Trust at the very

beginning, all the money would run

out the door at the front end, and
there wouldn't be anything left

for future claimants, which would

violate 524(g).

BY MR. BROWN:

Q. Okay. Well, the way that
this provision is written suggests that
any procedures other than those that are
set forth in this Plan would defeat the
purposes of Section 524(g).

Is that what is intended
here?
MR. FINCH: Object to form.
MS. HARDING: Object to
form,
BY MR. BROWN:
Q. Are there other options, is

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the question?

A. Ifthe question is could one
hypothesize a somewhat different set of
TDPs that had somewhat different
procedures, the answer is depending on
what that different TDP set of procedures
was, you might be able to say the same
thing about it.

The purpose of this thing is
to say that this structure, according to
the court, satisfies the requirements of
524(g) that say that you have to
establish this requirement.

I mean, this is a finding of
fact that is intended to have the court
tule that the Plan does, in fact, meet
the requirements of a subsection of
524(g).

Q. You could, in fact, have a
Plan that met the qualifications for
524(g) that actually had a role for
asbestos insurance entities, correct?

MR. FINCH: Object to form.

MS. HARDING: Object to

